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9    NELLI KESOYAN
10
                              UNITED STATES DISTRICT COURT
11
                            EASTERN DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,                 Case No: 2:15-CR-00236 GEB

14                    Plaintiff,               REQUEST FOR MODIFICATION OF
                                               JUDGMENT AND COMMITMENT;
15   v.                                        ORDER
16
     NELLI KESOYAN,
17
                   Defendant.
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22           Defendant, Nelli Kesoyan, by and through her attorney of record, Malcolm

23   Segal, hereby requests that the Court modify its stated Judgment dated April 27,

24   2018, only to the extent that it granted Defendant’s request that the Court

25   recommend confinement to the Camp at Victorville California. The Court

26   accepted the Defendant’s request but only insofar as it was in accord with the

27   Defendant’s security classification and space availability. No written Judgment

28   and Commitment has yet been issued or filed by the Court.
                                         -1-
             Request For Modification of Judgment and Commitment; [Proposed] Order
       Case 2:15-cr-00236-JAM Document 232 Filed 05/07/18 Page 2 of 2


1          The Defendant now requests that, in order to permit her family to more

2    readily visit her while she is in custody, the Court modify its Judgment and

3    Commitment only to the extent that confinement is recommended at the Camp at

4    Dublin California, but only insofar as this accords with the Defendant’s security

5    classification and space availability.

6          The government, through its attorney of record, Assistant United States

7    Attorney Jeremy Kelly, opposes the modification, made four days after Judgment

8    was pronounced, on jurisdictional grounds, believing United States v. Ceballos,

9    671 F.3d 852 (9th Cir. 2011) does not permit the modification.

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11   Dated: May 2, 2018.                             SEGAL & ASSOCIATES, PC

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13                                            By:    _____________________________
14                                                   MALCOLM SEGAL
                                                     Counsel for Defendant
15                                                   NELLI KESOYAN
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18                       Modification of placement recommendation

19         The Court hereby modifies its placement recommendation and

20   recommends that the Defendant Nelli Kesoyan be confined at the Bureau of

21   Prisons Camp at Dublin California, but only insofar as this accords with the

22   Defendant’s security classification and space availability.
23         So ordered.
24   Dated: May 4, 2018

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           Request For Modification of Judgment and Commitment; [Proposed] Order
